                               Exhibit 1




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                                                                        ELECTRONICALLY FILED
                                                                            7/12/2018 10:28 AM
                                                                          25-CV-2016-900001.00
                                                                           CIRCUIT COURT OF
                                                                      CULLMAN COUNTY, ALABAMA
                                                                         LISA MCSWAIN, CLERK
            IN THE CIRCUIT COURT OF CULLMAN COUNTY, ALABAMA

MARINA STEWART-MAGEE,                         )
as Administrator and Personal                 )
Representative of the ESTATE                  )             CIVIL ACTION NO.
OF ALBINA AGDASOVNA                           )             CV-2016-900001
SHARFIFULLINA, deceased,                      )
                                              )
      Plaintiff,                              )             JURY DEMAND
                                              )              REQUESTED
v.                                            )
                                              )
DANIEL B. SNYDER, et al.,                     )
                                              )
      Defendants.                             )


                           FIRST AMENDED COMPLAINT


       Comes now the Plaintiff, MARINA STEWART-MAGEE, as Administrator

and Personal Representative of the ESTATE OF ALBINA AGDASOVNA

SHARFIFULLINA, deceased, pursuant to this Honorable Court’s Order entered on

December 27, 2017 (Doc. 103), and hereby amends her original Complaint (Doc. 2) to

substitute and add Defendants Jeffrey Howard Whitlock and Jeffrey Hunter Whitlock for

Fictitious Defendants “2” through “5” as follows:

       1.      Plaintiff adopts and re-alleges all allegations, claims, and demands in her

original Complaint (Doc. 2) as if fully set forth herein.

       2.      Defendant Jeffrey Howard Whitlock is an individual over the age of 19 years

and a resident of Shelby County, Alabama.

       3.      Defendant Jeffrey Hunter Whitlock is an individual over the age of 19 years

and a resident of Jefferson County, Alabama.




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          4.   Venue is proper in Cullman County, Alabama pursuant to Ala. Code § 6-3-

2 (1975) because the accident made the basis of this lawsuit occurred in Cullman County,

Alabama.

       5.      Jurisdiction is proper in the Circuit Court of Cullman County, Alabama

pursuant to Ala. Code § 12-11-30 (1975) because the matter in controversy exceeds ten

thousand dollars ($10,000.00), exclusive of interest and costs. See Ala. Code § 12-11-30(1)

(1975).

       6.      On or about July 5, 2014, Defendants Jeffrey Howard Whitlock and Jeffrey

Hunter Whitlock hosted a social dinner gathering at their private lake home located at

680 County Road Highway 218, Bremen, Alabama 35033.

       7.      Defendant Daniel B. Snyder and the Plaintiff’s decedent, Albina Agdasovna

Sharfifullina, attended the aforementioned dinner gathering hosted by the Defendants,

Jeffrey Howard Whitlock and Jeffrey Hunter Whitlock.

       8.      Upon information and belief, Defendants Jeffrey Howard Whitlock and

Jeffrey Hunter Whitlock provided and/or allowed to be provided alcoholic beverages to

Defendant Daniel B. Snyder during the social dinner gathering, and Daniel B. Snyder

became intoxicated while attending said dinner gathering.

       9.      At approximately 10:00 p.m. on July 5, 2014, Defendant Daniel B. Snyder,

while intoxicated, left the aforementioned dinner gathering on a SeaDoo personal

watercraft (hereinafter “SeaDoo”), and with the Plaintiff’s decedent as his passenger,

drove said SeaDoo into the dark and ultimately collided it into a dock nearby. As a result

of the collision, the Plaintiff’s decedent suffered fatal injuries and died.

       10.     Defendants Jeffrey Howard Whitlock and Jeffrey Hunter Whitlock knew or

should have known that it was unsafe and illegal for Daniel B. Snyder to operate his

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SeaDoo in the dark and while under the influence of alcohol.

       11.       Defendants Jeffrey Howard Whitlock and Jeffrey Hunter Whitlock knew or

should have known that it was unsafe for the Plaintiff’s decedent to travel as a passenger

on a SeaDoo being driven by Daniel B. Snyder under the conditions described in

paragraph 10.

       12.       Upon information and belief, Defendants Jeffrey Howard Whitlock and

Jeffrey Hunter Whitlock told Daniel B. Snyder that it was “dangerous and illegal” to

operate a SeaDoo at night, and offered to take Daniel B. Snyder to his cabin cruiser boat

at Ryan Creek Marina, where Daniel B. Snyder and the Plaintiff’s decedent could stay for

the night.

       13.       Upon information and belief, Defendant Daniel B. Snyder initially accepted

a ride from the Defendants to Ryan Creek Marina, but subsequently changed his mind.

       14.       Defendants Jeffrey Howard Whitlock and Jeffrey Hunter Whitlock, through

their own actions, voluntarily assumed and undertook a duty to protect the Plaintiff’s

decedent from the negligent, reckless, and wanton conduct of Daniel B. Snyder and to

warn the Plaintiff’s decedent of the risks associated with traveling on a SeaDoo with

Daniel B. Snyder in the dark.

       15.       Defendants Jeffrey Howard Whitlock and Jeffrey Hunter Whitlock

negligently, recklessly, and wantonly breached their duty of care to the Plaintiff’s

decedent by:

             (a) failing to warn the Plaintiff’s decedent of the risks associated with
                 riding a SeaDoo in the dark;

             (b) failing to provide and/or secure an alternative and safer means of
                 transportation for the Plaintiff’s decedent;




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          (c) failing to take sufficient and reasonable steps to prevent Daniel B.
              Snyder from operating his SeaDoo in the dark and while under the
              influence of alcohol, despite their actual or constructive
              knowledge that serious injury and/or death would likely or
              probably result; and

          (d) failing to take sufficient and reasonable steps to prevent the
              Plaintiff’s decedent from riding as a passenger on the
              aforementioned SeaDoo under the conditions described in
              subsection (c), despite their actual or constructive knowledge that
              serious injury and/or death would likely or probably result.

       16.    As a direct and proximate result of the Defendants’ negligent, reckless, and

wanton conduct, Plaintiff’s decedent, Albina Agdasovna Sharfifullina, suffered fatal

injuries and died.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff demands judgment

against the Defendants, Daniel B. Snyder, Jeffrey Howard Whitlock, and Jeffrey Hunter

Whitlock, in an amount deemed appropriate by a jury which will adequately reflect the

enormity of the Defendants’ wrongful conduct, in the form of punitive damages, plus

interest and costs of this proceeding.

       Respectfully submitted this 12th day of July, 2018.

                                                  /s/ Mark W. Lee
                                                  Mark W. Lee (LEE003)
                                                  Kendall A. Lee (LEE091)
                                                  Attorneys for Plaintiff


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                                     JURY DEMAND

        Plaintiff demands a trial by struck jury on all issues raised herein.


                                                          /s/ Mark W. Lee
                                                          OF COUNSEL

 SERVE VIA CERTIFIED MAIL

 Mr. Jeffrey Howard Whitlock
 2250 Beaver Creek Road
 Columbiana, Alabama 35051

 Mr. Jeffrey Hunter Whitlock
 4113 Clover Leaf Drive
 Birmingham, Alabama 35243



                              CERTIFICATE OF SERVICE

        I hereby certify that I have on this 12th day of July, 2018, electronically filed the
 foregoing pleading with the Clerk of the Court using the AlaFile electronic filing system
 which will effect service of such filing on the following:

 Daniel S. Wolter, Esq.
 Daniel Wolter Law Firm, LLC
 402 Office Park Drive, Suite 100
 Birmingham, Alabama 35223
 dwolter@wolterlawfirm.com


                                                          /s/ Mark W. Lee
                                                          OF COUNSEL




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